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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

Civil Action No. 25-cv-00425-STV

TINA M. PETERS,

       Applicant,

v.

JOHN FEYEN, in his official capacity as Sheriff of Larimer County, Colorado; and
PHILIP J. WEISER, in his official capacity as Attorney General of the State of Colorado,

      Respondents.
______________________________________________________________________________

                           MOTION TO WITHDRAW
______________________________________________________________________________

       The United States of America moves to withdraw J. Bishop Grewell and Peter McNeilly

as counsel of record and requests termination of electronic service for them in the above-

captioned case. As grounds for this motion, the government states that a conflict may arise for

Mr. Grewell and Mr. McNeilly in this case. The office that they currently supervise previously

participated alongside and aided the state investigation into Ms. Peters. That investigation is now

closed. But any questions into the propriety of that investigation or into DOJ’s review of that

investigation would create a conflict for them. While they stand by the statement of interest that

has been filed in this matter, they ask for leave to withdraw to avoid a conflict arising. Abigail

Stout is counsel of record in this case, has filed an entry of appearance, and is receiving

electronic notice.

       Dated this 14th day of March 2025.



                                              Respectfully submitted,
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                                    J. Bishop Grewell
                                    Acting United States Attorney


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                               CERTIFICATE OF SERVICE

        I hereby certify that on March 14, 2025, I electronically filed the foregoing MOTION TO
WITHDRAW with the Clerk of the Court using the CM/ECF system, which will send an email
notification of such filing to all counsel of record.


                                            s/ Mariah Hill
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